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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  ANDRES GOMEZ,

         Plaintiff,

  v.

  BEACON-FL, LLC,

        Defendant.
  ___________________________________/

                                 CLASS ACTION COMPLAINT

         Comes now Andres Gomez (“Plaintiff”), on behalf of himself and all others similarly

  situated, hereby sues BEACON-FL, LLC, and alleges as follows:

                                         INTRODUCTION

        1.       Plaintiff, Andres Gomez, brings this action individually and on behalf of all others

  similarly situated against Defendant, BEACON-FL, LLC, (“Defendant”), alleging violations of

  Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., (hereinafter, “ADA”).

        2.       Plaintiff is a blind individual. He brings this civil rights class action against

  Defendant for offering and maintaining an internet website that is not fully accessible and

  independently usable by visually impaired individuals.

        3.       Plaintiff Gomez has visited Defendant’s website (www.planetdodge.com) (the

  “Website”).

        4.       Defendant is a vehicle dealer that offers goods that are inaccessible to the public

  with a brick and mortar show room that is located approximately eleven (11) miles from the

  Defendant’s residence. Defendant’s website is offered as a tool that is heavily integrated with

  Defendant’s brick and mortar Miami show room location, to among other things, view vehicle

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  inventory, view specials and access coupons, apply for credit and explore financing options, and

  value a trade-in.

         5.      As a result, the website must interact and be heavily integrated with Defendant’s

  services, brick and mortar location, and in doing so must comply with the ADA, which means it

  must not discriminate against individuals with disabilities and may not deny full and equal

  enjoyment of services afforded to the general public.

         6.      Blind and visually impaired consumers use screen reading software or other

  assistive technologies in order to access website content. Defendant’s website, however, contains

  digital barriers, limiting the ability of blind and visually impaired consumers to access their

  content.

         7.      Defendant’s website does not properly interact with screen reader software in a

  manner that will allow the blind and visually impaired to enjoy the website, nor does the site

  provide other means to accommodate the blind and visually impaired. As a result, the Plaintiff

  could not view vehicle inventory, view specials and access coupons, apply for credit and explore

  financing options and value a trade-in. Plaintiff Gomez has visited Defendant’s website in the past

  in conjunction with Plaintiff’s visit to Defendant brick and mortar locations. However, unless

  Defendant is required to eliminate the access barriers at issue, and required to change its policies

  so that access barriers do not reoccur on Defendant’s website, Plaintiff will continue to be denied

  full and equal access to the website and related brick and mortar campus location as described, and

  will be deterred from fully using Defendant’s website in conjunction with its physical location.

         8.       The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks

  in this action. The ADA provides, in part:

                         [i]n the case of violations of . . . this title, injunctive relief
                 shall include an order to alter facilities to make such facilities readily

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                  accessible to and usable by individuals with disabilities . . . Where
                  appropriate, injunctive relief shall also include requiring the ...
                  modification of a policy ...

  42 U.S.C. § 12188(a)(2).

          9.      Therefore, on behalf of a class of similarly situated individuals, Plaintiff seeks a

  declaration that Defendant’s website violates federal law as described and an injunction requiring

  Defendant to modify its website, to include third party vendors, so that it is fully accessible to, and

  independently usable by blind or visually impaired individuals. Plaintiff further requests that the

  Court retain jurisdiction of this matter for a period to be determined to ensure that Defendant comes

  into compliance with the requirements of the ADA and to ensure that Defendant has adopted and

  is following an institutional policy that will, in fact, cause Defendant’s website to remain in

  compliance with the law.

                                  JURISDICTION AND VENUE

         10.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 42

  U.S.C. § 12188.

          11.        Plaintiff’s claims arose in this judicial district and Defendant does substantial

  business in this judicial district.

          12.        Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) and 42

  U.S.C. § 12117(a)in that this is the judicial district in which a substantial part of the acts and

  omissions giving rise to the claims occurred.

                                                  PARTIES

          13.        Plaintiff, ANDRES GOMEZ, is and, at all times relevant hereto, was a resident

  of the State of Florida. Plaintiff, ANDRES GOMEZ, is and, at all times relevant hereto, has been

  legally blind and is therefore a member of a protected class under the ADA.


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          14.          Defendant, BEACON-FL, LLC, is Foreign Limited Liability Company, with its

  principal place in Miami, Florida. Defendant, BEACON-FL, LLC, either directly or through its

  subsidiaries and/or partners and affiliates, owns, operates and/or maintains a vehicle dealership

  located in Miami, Florida. Defendant, BEACON-FL, LLC, also owns, operates, and maintains its

  integrated website, which offers continuous services to the public, twenty-hours a day and seven

  days a week.

          15.          The physical showrooms, owned by Defendant, BEACON-FL, LLC, and the

  accompanying integrated website offers services, to include among other things, viewing vehicle

  inventory, viewing specials and accessing coupons, applying for credit, and valuing a trade-in,

  within South Florida, to the public. The showrooms and website work collectively and are public

  accommodations pursuant to 42 U.S.C. § 12181(7)(F).

                                                          FACTS
           16.         Defendant        either     owns,        operates     and/or      controls      its    website,

  www.planetdodge.com, which offers services related to and heavily integrated with its brick and

  mortar show rooms and which offers such services such as viewing vehicle inventory, viewing

  specials and accessing coupons, applying for credit, or valuing a trade-in, within South Florida, to

  the public.1

          17.          Blind and visually impaired individuals may access websites by using keyboards

  in conjunction with screen reader software that converts text to audio. Screen reader software

  provides the primary method by which a visually impaired person may independently use the

  Internet. Unless the websites are designed to be accessed with screen reader software, visually




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     Most, if not all, of the purchases, lease, and trade-ins must be completed at the Defendant’s brick and mortar
  location.

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  impaired individuals are unable to fully access websites and the information, products, and service

  available through the sites.

           18.      The international website standards organization, W3C, has published WCAG

  2.0 AA (Version 2.0 of the Web Content Accessibility Guidelines). WCAG 2.0 AA provides

  widely accepted guidelines for making websites accessible to individuals with disabilities and

  compatible with screen reader software. These guidelines have been endorsed by the United States

  Department of Justice and numerous federal courts.

           19.   Plaintiff is a prospective customer who is interested in the good and services offered

  by Defendant at its brick and mortar locations.

           20.      Plaintiff uses screen reader software in order to access a website's content.

  However, despite several attempts, Defendant’s website did not integrate with Plaintiff's software,

  nor was there any function within the website to permit access for visually impaired individuals

  through other means. Plaintiff was denied the full use and enjoyment of the facilities and services

  available on Defendant’s website as a result of access barriers on the website in conjunction with

  Plaintiff’s use and patronage of Defendant’s brick and mortar campus location in Boca Raton.

           21.      Plaintiff also researches locations prior to visiting in person in order to learn

  about accessible routes, and accommodations for disabled individuals in advance of an in-person

  visit.

           22.      Defendant’s website does not meet the WCAG 2.0 AA level of accessibility.

           23.      By failing to adequately design and program its website to accurately and

  sufficiently integrate with screen reader software, Defendant has discriminated against Plaintiff

  and others with visual impairments on the basis of a disability by denying them full and equal

  enjoyment of the website, in violation of 42 U.S.C. § 12182(a) and C.F.R. § 36.201.


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         24.        As a result of Defendant’s discrimination, Plaintiff was unable to use Defendant’s

  website and suffered an injury in fact including loss of dignity, mental anguish and other tangible

  injuries. Moreover, the digital barriers on Defendant’s website, Plaintiff is denied to participate in

  or benefit from the goods, services and accommodations afforded to the public.

         25.        The barriers at the website have caused a denial of Plaintiff s full and equal

  access multiple times in the past, and now deter Plaintiff from attempting to use Defendant’s

  website itself, and in conjunction with visiting its brick and mortar campus location.

         26.        If Defendant’s website was accessible, Plaintiff could independently research

  the available credit services, trade-in options, vehicle specials, access coupons vehicles in

  inventory and schedule appointments.

         27.        Although Defendant may have centralized policies regarding the maintenance

  and operation of its website, Defendant has never had a plan or policy that is reasonably calculated

  to make its website fully accessible to, and independently usable by people with visual

  impairments.

         28.        Without injunctive relief, Plaintiff and other visually impaired individuals will

  continue to be unable to independently use Defendant’s website in violation of their rights under

  the ADA.

                                        CLASS ALLEGATIONS

         29.        Plaintiff brings this class action on behalf of himself and all others similarly

  situated pursuant to Rules 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure, on behalf

  of all legally blind individuals who have attempted, or will attempt, to access Defendant’s website

  using screen reader software.

         30.        Numerous Class: The class described above is so numerous that joinder of all


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  individual members in one action would be impracticable. The disposition of the individual claims

  of the respective class members through this class action will benefit both the parties and this

  Court.

           31.      Typicality: Plaintiff’s claims are typical of the claims of the members of the

  class. The claims of the Plaintiff and members of the class are based on the same legal theories

  and arise from the same unlawful conduct.

           32.      Common Questions of Fact and Law: There is a well-defined community of

  interest and common questions of fact and law affecting members of the class in that they all

  have been and/or are being denied their civil rights to full and equal access to, and use and

  enjoyment of, Defendant’s facilities and/or services due to Defendant’s failure to make its website

  fully accessible and independently usable as above described.

           33.      Adequacy of Representation: Plaintiff is an adequate representative of the class

  because his interests do not conflict with the interests of the members of the class. Plaintiff will

  fairly, adequately, and vigorously represent and protect the interests of the members of the class

  and has no interests antagonistic to the members of the class. Plaintiff has retained counsel

  who are competent and experienced in the prosecution of class action litigation, generally, and

  who possess specific expertise in the context of class litigation under the ADA.

           34.      Class certification is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

  Defendant has acted or refused to act on grounds generally applicable to the Class, making

  appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

                                       SUBSTANTIVE VIOLATIONS


                           Title III of the ADA, 42 U.S.C. § 12181 et seq.

           35.      The allegations contained in the previous paragraphs are incorporated by

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  reference.

         36.        Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides: “No

  individual shall be discriminated against on the basis of a disability in the full and equal enjoyment

  the goods, facilities, privileges, advantages or accommodations of any place of public

  accommodation by any person who owns, leases (or leases to), or operates a place of public

  accommodation.” 42 U.S.C. § 12182(a).

         37.        Defendant’s brick and mortar show room locations and accompanying Website

  are public accommodations within the definition of Title III of the ADA, 42 U.S.C. § 12181(7)(F).

         38.     Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination to

  deny individuals with disabilities the opportunity to participate in or benefit from the goods,

  services, facilities, privileges, advantages or accommodations of an entity. 42 U.S.C. §

  12182(b)(1)(A)(1).

         39.     Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination to

  deny individuals with disabilities the opportunity to participate in or benefit from the goods,

  services, facilities, privileges, advantages or accommodations, which is equal to the opportunities

  afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii').

         40.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

  includes, among other things:

                 a failure to make reasonable modifications in policies, practices or
                 procedures, when such modifications are necessary to afford such
                 goods,      services,  facilities, privileges,    advantages      or
                 accommodations to individuals with disabilities, unless the entity
                 can demonstrate that making such modifications would
                 fundamentally alter the nature of such goods, services, facilities,
                 privileges, advantages or accommodations; and a failure to take such
                 steps as may be necessary to ensure that no individual with a
                 disability is excluded, denied services, segregated or otherwise

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                 treated differently than other individuals because of the absence of
                 auxiliary aids and services, unless the entity can demonstrate that
                 taking such steps would fundamentally alter the nature of good,
                 service, facility, privilege, advantage or accommodation being
                 offered or would result in an undue burden

  42 U.S.C. § 12182(b)(2)(A)(ii–iii); see also 28 C.F.R. § 36.303(a).

         41.     Title III requires that "[a] public accommodation shall furnish appropriate auxiliary

  aids and services where necessary to ensure effective communication with individuals with

  disabilities." 28 C.F.R. § 36.303(c)(1). The regulation sets forth numerous examples of "auxiliary

  aids and services," including "...accessible electronic and information technology; or other

  effective methods of making visually delivered materials available to individuals who are blind or

  have low vision." 28 C.F.R. § 36.303(b).

         42.     The acts alleged herein constitute violations of Title III of the ADA, and the

  regulations promulgated thereunder. Plaintiff, who is blind and has a disability that substantially

  limits the major life activity of seeing, within the meaning of 42 U.S.C. §§ 12102(1)(A) and (2)(A),

  has been denied full and equal access to Defendant’s website. Plaintiff has not been afforded the

  services, privileges and advantages that are provided to other patrons who are not disabled, and/or

  have been provided services, privileges and advantages that are inferior to those provided to non-

  disabled persons. These violations are ongoing as Defendant has failed to make any prompt and

  equitable changes to its website and policies in order to remedy its discriminatory conduct.


         43.        Pursuant to the ADA and the remedies, procedures and rights set forth and

  incorporated therein, Plaintiff, on behalf of himself and on behalf of all others similarly situated,

  requests relief as set forth below.

                                        PRAYER FOR RELIEF


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          WHEREFORE, Plaintiff, on behalf of himself and the members of the class, prays for:

   a.     A Declaratory Judgment that at the commencement of this action Defendant is in violation

   of the specific requirements of Title III of the ADA, described above, and the relevant

   implementing regulations of the ADA, in that Defendant took no action that was reasonably

   calculated to ensure that its website was fully accessible to, and independently usable by, blind

   individuals;

   b.     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2), 29 U.S.C.A. § 794a, 28 CFR

   § 36.504 (a), and 29 U.S.C.A. § 794a which directs Defendant to take all steps necessary to bring

   its website into full compliance with the requirements set forth in the ADA, and both statutes'

   implementing regulations, so that its website is fully accessible to, and independently usable by,

   blind individuals, and which further directs that the Court shall retain jurisdiction for a period to

   be determined to ensure that Defendant has adopted and is following an institutional policy that

   will in fact cause Defendant to remain fully in compliance with the law;

   c.     An Order certifying the class proposed by Plaintiff, and naming Plaintiff as class

   representatives and appointing his counsel as class counsel;

   d.     Payment of attorneys’ fees and costs incurred in this lawsuit;

   e.     Payment of reasonable attorneys' fees, pursuant to 42 U.S.C. § 12205, 29 U.S.C.A. § 794a,

   and 28 CFR § 36.505; and,

   f.     Whatever other relief the Court deems just, equitable and appropriate.

   Dated: August 12, 2019

                                                 Respectfully submitted,

                                                 GARCIA-MENOCAL & PEREZ, P.L.
                                                 Attorneys for Plaintiff
                                                 4937 S.W. 74th Court
                                                 Miami, FL 33155

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